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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW MEXICO

SIERRA ORTIZ,

               Plaintiff,
v.                                                               No. CV 20-190 SMV/CG

LAS CRUCES PUBLIC SCHOOLS, et al.,

               Defendants.

              ORDER GRANTING JOINT MOTION TO EXTEND DEADLINES

        THIS MATTER is before the Court on the parties’ Stipulated Motion to Amend the

Scheduling Order (the “Motion”), (Doc. 64), filed October 11, 2021. In the Motion, the

parties explain that new counsel recently appeared for both Plaintiff Sierra Ortiz and

Defendant Patrick Howard, respectively. (Doc. 64 at 1). The parties also indicate that there

are four similar cases currently pending against Defendant Las Cruces Public Schools and

Defendant Howard. Id. As such, the parties agree that “judicial economy would be best

served by aligning the pretrial deadlines as closely as possible.” Id. As a result, the parties

request to modify the dates and deadlines set forth in the Court’s Scheduling Order, (Doc.

57). The Court, having reviewed the Motion and noting it was filed jointly, finds the Motion

is well-taken and shall be GRANTED.

        IT IS THEREFORE ORDERED that the Court’s Scheduling Order, (Doc. 57), shall

be modified as follows:

     1. The deadline for Plaintiff to join additional parties and to amend the pleadings shall

        be January 25, 2022;

     2. The deadline for Defendants to join additional parties and to amend the pleadings

        shall be extended to February 22, 2022;

     3. The deadline for Plaintiff to submit expert reports shall be extended to February 28,
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      2022;

   4. The deadline for Defendants to submit expert reports shall be extended to April 26,

      2022;

   5. The deadline for completion of discovery shall be extended to June 22, 2022;

   6. The deadline for discovery motions shall be extended to July 12, 2022;

   7. The deadline for other pretrial motions shall be extended to July 22, 2022;

   8. The deadlines for the pretrial order shall be VACATED to be reset by the presiding

      judge.

      All other deadlines contained in the Court’s Scheduling Order, (Doc. 57), remain in

effect unless amended by further order of the Court

      IT IS SO ORDERED.




                                 THE HONORABLE CARMEN E. GARZA
                                 CHIEF UNITED STATES MAGISTRATE JUDGE




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